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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI`I

 UNITED STATES OF AMERICA,             )      CR. NO. 06-00469 DAE
                                       )
             Plaintiff,                )
                                       )
       vs.                             )
                                       )
 SYED QADRI,                  (01)     )
 PATRICIA ROSZKOWSKI, (02)             )
 RUBEN CARRILLO GONZALEZ,              )
      a.k.a. “Ruben Carrillo” (03)     )
 JEFFREY GREENHUT,            (04)     )
                                       )
           Defendants.                 )
 _____________________________         )


       ORDER: (1) DENYING DEFENDANT’S MOTION TO DISMISS
    INDICTMENT AND SUPERSEDING INDICTMENT; AND (2) DENYING
       DEFENDANT’S REQUEST FOR AN EVIDENTIARY HEARING

             On March 8, 2010, the Court heard Defendant’s Motion to Dismiss

 Indictment and Superseding Indictment. Chris A. Thomas, Assistant U.S.

 Attorney, appeared at the hearing on behalf of the Government; Eric A. Seitz, Esq.,

 and Della A. Belatti, Esq., appeared at the hearing on behalf of Defendant Qadri;

 Myles S. Breiner, Esq., appeared on behalf of Defendant Roszkowski; Pamela E.

 Tamashiro, Esq., appeared on behalf of Defendant Gonzalez; and Paul B.K. Wong,

 Esq., appeared on behalf of Defendant Greenhut. After reviewing the motion and

 the supporting and opposing memoranda, the Court DENIES Defendant’s Motion.
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 (Doc. # 324.) Furthermore, for reasons set forth below, the Court DENIES

 Defendant’s request for an evidentiary hearing.

                                  BACKGROUND

              On August 31, 2006, Defendant Syed Quadri (“Defendant”), along

 with co-defendants Patricia Roszkowski, Ruben Carrillo Gonzalez, and Jeffrey

 Greenhut (collectively, “Defendants”), were indicted for four counts of wire fraud.

 (Doc. # 1.) On May 13, 2009, a Superseding Indictment was filed against

 Defendants. (Doc. # 222.) Defendants were charged with fifty counts of wire

 fraud (Counts 1-50), conspiracy to commit money laundering (Count 51), and

 thirty-four counts of engaging in monetary transactions (Counts 52-85), and

 Roszkowski was charged with two counts of credit application fraud (Counts 86

 and 87).

              On June 18, 2009, Defendant filed his first motion to dismiss the

 Indictment and Superseding Indictment. (Doc. # 258.) According to Defendant,

 the Government had “engaged in a practice and pattern of delayed production of

 discovery, as well as delayed filing of the Superseding Indictment.” (Id. at 1.)

 Specifically, Defendant believed that the Government’s production of documents,

 electronic communications, audio and video recordings, and copies of the hard

 drives of thirty-seven computers was untimely.


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              On July 16, 2009, Magistrate Judge Chang issued a Findings and

 Recommendation (“F&R”) to deny Defendant’s motion to dismiss the Indictment

 and Superseding Indictment. (Doc. # 274.) Magistrate Judge Chang found that the

 “government’s alleged failure to produce documents and other evidence to

 Defendants and the delay in filing the Superseding Indictment are not so grossly

 shocking and so outrageous as to violate a universal sense of justice,” and that the

 Government’s alleged actions did not “rise to a level of flagrant prosecutorial

 misconduct.” (Id. at 6-7.) On August 26, 2009, after receiving no opposition to

 the F&R, Judge Helen Gillmor adopted the F&R.

              On November 24, 2009, Defendant again filed a Motion to Dismiss

 Indictment and Superseding Indictment, in which all other defendants have joined.

 (Docs. ## 327, 334, 348.) On February 8, 2010, the Government filed an

 opposition. (Doc. # 352.) On February 16, 2010, Defendant filed a Reply. (Doc.

 # 353.)

                             STANDARD OF REVIEW

              An indictment may be dismissed on two grounds: (1) “outrageous

 government conduct if the conduct amounts to a due process violation”; or (2) “if

 the conduct does not rise to the level of a due process violation, the court may

 nonetheless dismiss under its supervisory powers.” United States v. Chapman, 524


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 F.3d 1073, 1084 (9th Cir. 2008) (citing United States v. Barrera-Moreno, 951 F.2d

 1089, 1091 (9th Cir. 1991)); see United States v. Smith, 924 F.2d 889, 897 (9th

 Cir. 1991). “Dismissal of an indictment is generally disfavored because it is

 considered a drastic step.” United States v. Rogers, 751 F.2d 1074, 1076 (9th Cir.

 1985); see United States v. Fuchs, 218 F.3d 957, 964 (9th Cir. 2000).

              To dismiss on the first ground, “the Government’s conduct must be so

 grossly shocking and so outrageous as to violate the universal sense of justice.”

 Smith, 924 F.2d at 897 (citing United States v. Ramirez, 710 F.2d 535, 539 (9th

 Cir. 1983) and United States v. Citro, 842 F.2d 1149, 1152 (9th Cir. 1988)). To

 dismiss on the second ground, a district court may exercise its supervisory power

 “‘to implement a remedy for the violation of a recognized statutory or

 constitutional right; to preserve judicial integrity by ensuring that a conviction rests

 on appropriate considerations; and to deter future illegal conduct.’” Chapman, 524

 F.3d at 1085 (quoting United States v. Simpson, 927 F.2d 1088, 1090 (9th Cir.

 1991)). A court generally may dismiss only in those cases where “flagrant

 prosecutorial misconduct” is evident, which may include reckless disregard for

 constitutional obligations but does not include accidental or negligent

 governmental conduct. Id.; see United States v. Kearns, 5 F.3d 1251, 1255 (9th

 Cir. 1993) (finding that dismissal of the indictment was not warranted despite


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 negligent or grossly negligent conduct). Furthermore, “a court may dismiss an

 indictment under its supervisory powers only when the defendant suffers

 ‘substantial prejudice,’ and where ‘no lesser remedial action is available.’”

 Chapman, 524 F.3d at 1087 (quoting United States v. Jacobs, 855 F.2d 652, 655

 (9th Cir. 1988) and United States v. Barrera-Moreno, 951 F.2d 1089, 1092 (9th

 Cir. 1991)).

                When a party seeks dismissal of an indictment for alleged violations

 of the right to a speedy trial, a court may evaluate four factors: the length of the

 delay; the reason for the delay; the defendant’s assertion of his right to a speedy

 trial; and prejudice to the defendant. Barker v. Wingo, 407 U.S. 514, 530 (1972);

 Doggett v. United States, 505 U.S. 647 (1992). The length of delay is a threshold

 issue. United States v. Gregory, 322 F.3d 1157, 1161 (9th Cir. 2003). “[T]he

 length of the delay that will provoke [inquiry into the other factors] is necessarily

 dependant upon the peculiar circumstances of the case.” Id.; see United States v.

 Mendoza, 530 F.3d 758, 762 (9th Cir. 2008). “[T]he prosecution bears the burden

 of explaining pretrial delays.” McNeely v. Blanas, 336 F.3d 822, 827 (9th Cir.

 2003).

                The fourth factor, prejudice, “‘should be assessed in the light of the

 interests of defendants which the speedy trial right was designed to protect.’”


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 Gregory, 322 F.3d at 1163 (quoting Barker, 407 U.S. at 532). These interests

 include preventing oppressive pretrial incarceration, minimizing anxiety of the

 accused, and limiting the possibility that the defense will be impaired. Barker, 407

 U.S. at 532. These four factors must be considered together by the court along

 with any other circumstances that may be relevant. Id. at 533; see also United

 States v. Drake, 543 F.3d 1080 (9th Cir. 2008) (applying the Barker factors).

                                     DISCUSSION

 I.    Motion to Dismiss Indictment

              Defendant argues that there have been “considerable” delays in

 production of discovery and that the Superseding Indictment was untimely filed.

 Defendant contends that both are violative of Defendant’s right to a speedy trial.

 In support of these two points, Defendant emphasizes that the Superseding

 Indictment was filed nearly three years after the original indictment, and presents a

 time line of events to describe the delays in discovery.

              The delay of nearly three years creates a presumption of prejudice.

 See Mendoza, 530 F.3d at 762 (“Generally, a delay of more than one year is

 presumptively prejudicial . . . and triggers an inquiry into the other three factors.”).

 However, for the reasons set forth below, other factors weigh against dismissing

 the indictment in this case.


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              Defendant submits the declaration of Eric Seitz, defense counsel,

 which presents a detailed chronology of events intended to describe the delays in

 discovery. According to Seitz, he outlines “the flagrant and willful history of

 discovery delays related to seized paper documents and files in this case from the

 filing of the original Indictment to June 18, 2009.” (Seitz Mot. Decl. ¶ 3.) The

 declaration raises many objections to the way in which the Government has

 proceeded with its case. In particular, Seitz attests that on July 27, 2007, Assistant

 U.S. Attorney Chris Thomas provided defense counsel with a list of thirty-two

 computer hard drives and three servers that could be cloned and accessed for

 examination by August 2007. (Id. ¶¶ 4-5.) Defendant purportedly contacted the

 Government about the computer hard drives, but by September 2007 the

 Government had still not provided access to the computers. (Id. ¶¶ 6-13.)

 Defendants were particularly concerned about the possibility that the computers

 might have to be moved for an interlocutory sale of computers seized in a separate

 case. In October 2007, various communications ensued regarding access and

 inventory of the computers. (Id. ¶¶ 13-16.) However, according to Defendant, as

 of January 11, 2008, Defendant had received only seventeen of the thirty-two hard

 drives. (Id. ¶ 17.) Also according to Defendant, the Government did not

 adequately respond to requests for documents, including investment contracts or


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 agreements, produced evidence “piecemeal” over an extended period of time, and

 “dumped” thousands of unresponsive documents onto Defendants.

              After the Superseding Indictment was filed on May 13, 2009, the

 communication between Defendant and the Government regarding discovery

 resumed. According to Defendant, counsel would “persistently call and e-mail Mr.

 Thomas about the status of discovery, and Mr. Thomas would fail to respond to

 Defendants’ counsel’s inquiries.” (Id. ¶ 24.) On July 7, 2009, Thomas allegedly

 informed defense counsel that documents relating to the Superseding Indictment

 would be available for pick up by July 2, 2009, but Seitz asserts that his office did

 not receive a computer disk copy of the document until July 14, 2009. (Id. ¶¶ 25-

 26.) Seitz contends that the documents produced did not include all of the

 investment contract requests. (Id. ¶ 27.)

              On August 27, 2009, defense counsel contacted Magistrate Judge

 Kurren to inform him of two “outstanding discovery matters that needed the

 Court’s attention because of the Government’s lack of response. These matters

 included witness contact information and the computer hard drive discovery.” (Id.

 ¶ 28; Mot. Ex. 8.) On September 25, 2009, counsel met to discus the problems

 encountered with processing or viewing the computer hard drives. (Seitz Mot.

 Decl. ¶ 30.) Communication from defense counsel to the Government regarding


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 problems accessing all the hard drives continued through November 2009. (Id. ¶¶

 31-44.) Defendant argues that the Government technically complied with the

 Court’s order to provide defense counsel with a process for obtaining computer

 hard drive discovery, but that the Government delayed outlining a sufficient

 process because it was “still exploring options.” (Id. ¶ 44.) Seitz concludes by

 saying that “[i]n light of the unique facts and circumstances of this case where

 delays have been predicated upon the Government attorney’s failure to respond to

 Defendants’ attorney’s repeated calls, e-mails, and letters, and failure to provide

 sufficient and timely discovery responses, [he has] no confidence that sufficient

 access will be provided either to the fifteen computers that have still been withheld

 . . . or . . . the corporations’ main servers.” (Id. ¶ 46.)

               In Opposition to Defendant’s motion, the Government responds by

 arguing that the complex nature of the investigation required a more lengthy and

 extensive discovery process. (Opp’n at 11.) The Government characterizes the

 alleged acts as being akin to a Ponzi scheme, and explains that the Government had

 to contact numerous witnesses from across the country who were investors in the

 defendants’ company. (Id.) The Government acknowledges that there were delays

 in the discovery process, but attributes the delay to the complexity of the case and

 the scope and nature of the discovery. (Id. at 15.) For example, the Government


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 sent defense counsel a letter dated October 5, 2007 providing the inventory of

 computers and advising defense counsel that preserving the integrity of digital

 evidence is a fragile and time consuming process. (Opp’n Ex. F at 1.)

              The Government also contends that Defendant has “picked out”

 certain discrepancies in the discovery process but ignores the fact that over 30,000

 pages of documents have been provided in discovery, along with electronic

 communications, audio and video records, and transcripts. (Opp’n at 12.) The

 Government further counters that Defendants were provided with copies of the

 hard drives from the thirty-seven1 computers. (Id.)

              Further complicating the discovery process, there appears to have

 been some dispute as to whether Defendants were able to “read” the server drives

 and whether Defendants had access to forensic software. (Id. at 21.) After some

 negotiations with the FBI, particularly involving security concerns, the

 Government concluded that it would not be able to provide separate office space

 and personnel to allow defense counsel to separately access the computers. (Id. at

 22.) Defense counsel was therefore instructed to acquire their own forensic

 software to independently review the computers. (Id.)


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          There is a discrepancy in the record about whether there are thirty-two or
 thirty-seven computers at issue. Nevertheless, the dispute between the parties
 remains the same.

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              Despite Defendant’s characterization of delays as almost entirely the

 fault of the Government, in actuality the continuances of Defendant’s trial date

 thus far have been granted at the request of a defendant and/or been agreed to by

 all parties. Eight trial continuances have been granted thus far as to Defendant,

 with all counsel in agreement to the continuance and time excluded from

 computation. (Docs. ## 65, 106, 133, 172, 202, 248, 298, 331.) This Court’s

 review of the record can find no objection by Defendant to any of the continuances

 at the time they were ordered, and each continuance was granted by order of the

 court upon review of the request. The record does not indicate that any delay or

 continuance was a “deliberate attempt to delay proceedings to hamper the

 defense.” McNeely, 336 F.3d at 827. At the hearing on this matter, defense

 counsel acknowledged that Defendants do not argue that the technical requirements

 of the Speedy Trial Act have not been met.

              The Court acknowledges that discovery might have been produced

 more expeditiously, however, the Court does not deem the delays in this case to be

 so egregious as to warrant dismissal of the Indictment and Superseding Indictment.

 It appears that the delays in this case may be attributed at least in part to the nature

 of electronic discovery, the complex nature of the alleged crimes, and the necessity

 of coordinating various branches of government in the investigation. Even if this


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 Court were to attribute some of the delays to accidental or negligent conduct, these

 delays do not weigh so heavily as to warrant dismissal. Chapman, 524 F.3d at

 1085. There is absolutely no evidence currently before this Court that any delays,

 or the filing of the Superseding Indictment, were the result of reckless disregard of

 constitutional rights by any government personnel. Nor does the Government’s

 actions appear to be motivated by bad faith. See United States v. Williams, 547

 F.3d 1187, 1202 (9th Cir. 2008) (upholding a district court’s refusal to dismiss the

 indictment when the district court found, inter alia, an absence of bath faith). It

 also does not appear that the Government purposefully withheld evidence or

 misrepresented evidence. Magistrate Judge Chang and Judge Helen Gillmor

 concluded likewise when Judge Gillmor adopted the F&R denying a motion to

 dismiss on these very issues in August 2009.

              At the hearing on this matter, counsel for all parties agreed that to date

 Defendants have been provided everything that was seized by the Government

 during the investigation.2 Due to the volume of data, Defendants are apparently

 still in the process of downloading the information. Nevertheless, seven months



       2
          The Government contends that the computer servers were, in fact, given
 to Defendants as early as December 2008. Defendants argues that the data was not
 accessible, and it was not until December 2009 that Defendants had access to the
 information on the services.

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 before trial, Defendants have been provided with the evidence. Whether

 Defendants have their own difficulties accessing that data is another matter, and

 these difficulties do not speak to whether the Government has engaged in

 misconduct.

               Moreover, the Court notes that the trial date has been pushed back

 since the filing of the motion, at Defendant’s request. At the time Defendant filed

 the instant motion to dismiss, trial was set for March 16, 2010. The primary

 prejudice that Defendant claims in his motion is that he might not have been able

 to adequately prepare for a March 16 trial date. (Mot. at 3.) Trial is currently

 scheduled to begin on October 13, 2010. Defense counsel does not now argue that

 counsel cannot adequately prepare for the October 13, 2010 trial date, which is

 approximately seven months away.3 The Court also notes that Defendant does not

 claim that material evidence has been lost due to the delay.4 Furthermore,


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        At the hearing, defense counsel did comment that, once Defendants finish
 reviewing the evidence provided to them by the Government, Defendants might
 determine that they cannot prepare in time for the October trial. At this time, this
 statement is merely speculation.
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         At the hearing, defense counsel stated that Defendants have had difficulty
 finding certain witnesses from various locations around the world. Defendants did
 not brief this issue in their motion, and therefore the Court will not reach it. At the
 hearing, defense counsel did not elaborate on this statement, nor did counsel
 actually argue that it was the delay in the case that caused this difficulty, as
 opposed to the unique facts on the case itself and the breadth of the alleged

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 Magistrate Judge Kurren directed counsel to contact the court to schedule a

 discovery conference should any problems arise. This Court therefore concludes

 that Defendant has not established prejudice, and that the delays in this case do not

 warrant a dismissal of either the original Indictment or the Superseding Indictment.

              Accordingly, Defendant’s motion is DENIED.

 II.   Request for Evidentiary Hearing

              At the hearing on this matter, defense counsel requested for the first

 time that this Court hold an evidentiary hearing to determine whether the

 Government has acted in bad faith and misrepresented the evidence available to

 Defendants. Although this Court has already determined that there has been no

 violation of the Speedy Trial Act, the Court has nevertheless also reviewed the

 record for equitable considerations that may warrant an evidentiary hearing. The

 Court finds that the facts do not warrant an evidentiary hearing.

              An evidentiary hearing is generally required “only when the moving

 papers allege facts with sufficient definiteness, clarity, and specificity to enable the

 trial court to conclude that contested issues of fact exist.” United States v. Howell,

 231 F.3d 615, 620 (9th Cir. 2000) (citing United States v. Walczak, 783 F.2d 852,

 857 (9th Cir. 1986) (finding that the defendant was not entitled to an evidentiary


 criminal activity.

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 hearing on his motion to suppress). An evidentiary hearing on a motion to dismiss

 an indictment based on governmental misconduct is required if a defendant raises a

 material issue of fact “which if resolved in accordance with [the defendant’s]

 contentions would entitle him to relief.” United States v. Irwin, 612 F.2d 1182,

 1187 (1980) (internal quotations and citations omitted). “On the other hand, if the

 affidavits show as a matter of law that [the defendant] was or was not entitled to

 relief, no hearing [is] required.” Id.; see also United States v. Batiste, 868 F.2d

 1089, 1092 (9th Cir. 1989) (holding that the district court properly granted the

 defendant’s motion to suppress after holding evidentiary hearing).

              Defendant’s request for an evidentiary hearing rests on discovery

 delays related to seized paper documents and computer files, as referenced above.

 Upon review of the evidence before the Court, there is no question that there have

 been numerous lapses of time in communication between Defendants and the

 Government. It is entirely possible that the Government could have been more

 expeditious in conducting its discovery obligations. That said, however, it is also

 clear from the record that the discovery involved extremely difficult and complex

 analysis, with a number of issues arising that the parties could not have anticipated.

 This appears to be particularly true regarding production and analysis of the

 computer servers, which is the primary point of contention between the parties at


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 this time. Defense counsel acknowledged at the hearing that, despite having the

 computer servers since at least December 2009, Defendants have still not yet

 access all the documents three months later. This very fact appears to bolster the

 Government’s explanation that the computer discovery was a time-consuming

 process.

              Assuming as true Defendant’s contentions regarding the

 Government’s conduct, the Court finds that those facts would not entitle Defendant

 to relief. Viewing the facts in the light most favorable to Defendants, the Court

 finds that at most there was negligence on the part of the Government in its failure

 to respond to communications expeditiously. Nothing before the Court, however,

 calls into the question the veracity of the Government’s explanations for these

 delays.

              As a matter of law, mere negligence without more does not warrant

 dismissal of an indictment. See Chapman, 524 F.3d at 1085. Therefore, an

 evidentiary hearing is not warranted. See United States v. Rewald, 889 F.2d 836,

 860 n.23 (9th Cir. 1989) (finding that because the defendant had “failed to present

 factual allegations by affidavit that, if true, would warrant relief,” the defendant

 was not entitled to an evidentiary hearing), amended by 902 F.2d 18 (9th Cir.

 1990).


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              In support of the request for an evidentiary hearing, defense counsel

 directed this Court to United States v. Bernal-Obeso, 989 F.2d 331 (9th Cir. 1993).

 The Court finds this case to be quite distinguishable from the facts at hand, and

 therefore counsel’s reliance on this case is unavailing. In Bernal-Obeso, the

 defendant appealed his conviction of conspiracy to possess a controlled substance

 based, in part, on his contention that he had been prevented from pursuing

 information that a key government witness had lied to the Government during

 discovery. Id. at 331. Only five days before trial, the Government had provided

 the defendant information that the witness, Cabrera-Diaz, had killed two people but

 had not been charged. Id. at 332. Defense counsel subsequently uncovered that

 almost all the information the Government had provided to the defendant about

 Cabrera-Diaz was incorrect, and immediately before trial was to begin, defense

 counsel renewed a motion for a continuance to allow counsel to prepare to impeach

 Cabrera-Diaz, who had actually been charged with two counts of murder and

 attempted murder, had not raised a claim of self-defense, and had pleaded guilty to

 two felony counts of voluntary manslaughter with a firearm enhancement. Id. The

 continuance was denied. Id. The Government ultimately admitted that “the

 Government did not provide defense counsel with the correct information

 regarding the [confidential informant’s] prior record.” Id. The Ninth Circuit found


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 that the Government should have “promptly rectified this lapse” before trial. Id. at

 333. The Ninth Circuit was unable to “determine whether the informant lied to the

 DEA about his prior felony convictions, or whether [it was] just a case of sinless

 miscommunication.” Id. The Ninth Circuit ordered an evidentiary hearing to

 determine whether the Government discharged its Brady and Giglio obligations to

 provide the defense with material exculpatory evidence and whether the

 Government intentionally deprived the defendant of evidence. Id. at 333, 336.

 The court was concerned that it was “dealing with the ‘tip of an iceberg’ of other

 evidence that should have been revealed.” Id. at 333. If after the evidentiary

 hearing the district court were to “uncover egregious wrongdoing by the

 government,” the district court might consider dismissing the indictment for

 outrageous government conduct. Id. at 337 (citing United States v. Restrepo, 930

 F.2d 705, 712 (9th Cir. 1991)). In contrast, there is no question before this Court

 as to whether the Government has intentionally deprived Defendants of

 exculpatory evidence. There is simply no evidence before this Court that indicates

 the facts here rise to the egregious level seen in Bernal-Obeso.

              Accordingly, Defendant’s request for an evidentiary hearing is

 DENIED.




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                                 CONCLUSION

             For the reasons stated above, the Court: (1) DENIES Defendant’s

 Motion to Dismiss Indictment and Superseding Indictment; and (2) DENIES

 Defendant’s Request for Evidentiary Hearing.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, March 9, 2010.




                                     _____________________________
                                     David Alan Ezra
                                     United States District Judge




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